                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN


DUSAN DRAGISICH,

      Plaintiff,

 v.                                                        Case No. 20-CV-1465

RACINE COUNTY JAIL et al.,


      Defendants.


                                      ORDER


      Plaintiff Dusan Dragisich, who is representing himself, filed a civil rights

complaint under 42 U.S.C. § 1983 along with a motion to proceed without

prepayment of the filing fee under 28 U.S.C. § 1915. On September 18, 2020, the

clerk’s office mailed Dragisich a letter explaining that, in accordance with the

provisions of the Prison Litigation Reform Act, he must provide the court with a

certified copy of his trust account statement for the six-month period preceding the

filing of his lawsuit. The clerk also requested Dragisich submit the magistrate judge

consent/refusal form. The clerk’s office asked Dragisich to comply with its requests

within twenty-one days of the date of the letter.

      To date, the court has yet to receive the certified copy of Dragisich’s trust

account statement. Without it, the court cannot determine whether Dragisich is

eligible to proceed without prepayment of the filing fee. As such, the court will give

Dragisich one more chance to submit the certified copy of the trust account




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statement in accordance with this order. If he fails to comply, the court will deny his

motion to proceed without prepayment of the filing fee and will dismiss his

complaint for failure to follow the court’s order.

      IT IS THEREFORE ORDERED, that by the end of the day on November

10, 2020, Dragisich must: (1) pay the $400 filing fee; or (2) provide the court with a

copy of his trust account statement covering the six-month period preceding the

filing of his complaint; or (3) explain to the court why he is unable to provide the

requested information. If Dragisich fails to comply with this order, the court will

deny his motion to proceed without prepayment of the filing fee and will dismiss his

complaint



      Dated in Milwaukee, Wisconsin this 21st day of October, 2020.




                                                STEPHEN C. DRIES
                                                United States Magistrate Judge




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